Case 2:21-cv-07661-CAS-KES Document 1 Filed 09/24/21 Page 1 of 7 Page ID #:1


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10   Attorneys for Plaintiff,
     Backgrid USA, Inc.
11
                           UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13
                                  WESTERN DIVISION
14
     BACKGRID USA, INC., a California         Case No.:
15   corporation,
                                              COMPLAINT FOR COPYRIGHT
16                                            INFRINGEMENT
                    Plaintiff.
17
                                              DEMAND FOR JURY TRIAL
18          v.
19   SILDAN CORPORATION, d.b.a.
20   Illesteva, a Florida corporation; DOES
     1-10,
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22                  Defendants.

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                                       COMPLAINT
Case 2:21-cv-07661-CAS-KES Document 1 Filed 09/24/21 Page 2 of 7 Page ID #:2


 1         Plaintiff Backgrid USA, Inc. complains against Defendant Sildan Corporation
 2   doing business as Illesteva (“Illesteva”) and Does 1-10 (collectively, “Defendants”)
 3   as follows:
 4                              JURISDICTION AND VENUE
 5         1.      This is a civil action against Defendants for acts of copyright
 6   infringement under the Copyright Act, 17 U.S.C. §§ 101 et seq. This Court has
 7   subject matter jurisdiction under 28 U.S.C. § 1331, 28 U.S.C. § 1332, 17 U.S.C. §
 8   501(a), and 28 U.S.C. § 1338(a) and (b).
 9         2.      Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) and
10   28 U.S.C. § 1400(a) in that the claim arises in this judicial district, and, on
11   information and belief, the Defendants availed themselves to this district.
12   Specifically, Defendants reside in this district and infringed Plaintiff’s photographs in
13   this district. Defendants have stores in Santa Monica and at the Grove Shopping
14   Center in Los Angeles, California.
15                                          PARTIES
16         3.      Plaintiff Backgrid USA Inc. (“Backgrid”) is a California corporation
17   existing under the laws of California, with its principal place of business located in
18   Redondo Beach, California.
19         4.      On information and belief, Defendant Sildan Corporation is a Florida
20   Corporation, with its principal place of business in New York, New York.
21         5.      The true names or capacities, whether individual, corporate or otherwise,
22   of the Defendants named herein as Does 1 through 10, inclusive, are unknown to
23   Plaintiff, who therefore sues said Defendants by such fictitious names. Plaintiff will
24   ask for leave of Court to amend this Complaint and insert the true names and
25   capacities of said Defendants when the same have been ascertained.
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                                           COMPLAINT
Case 2:21-cv-07661-CAS-KES Document 1 Filed 09/24/21 Page 3 of 7 Page ID #:3



 1                          FACTS COMMON TO ALL COUNTS
 2              The Photo Agencies and the Photographs that Frame this Dispute
 3         6.      Backgrid is one of Hollywood’s largest celebrity-photograph agencies
 4   that regularly licenses celebrity-driven content to top-tier outlets, such as TMZ,
 5   Entertainment Tonight, New York Post, People Magazine, Huffington Post, the Daily
 6   Mail, as well as many television stations, newspapers and other prominent media
 7   outlets throughout the world. Each license has been granted for valuable
 8   consideration of up to hundreds of thousands of dollars.
 9         7.      Among many other in-demand photographs, Backgrid own the coveted
10   Kylie Jenner photographs at issue in this litigation. Backgrid owns at least two timely
11   registered photographs that have been infringed by Defendant and are at issue in this
12   litigation (hereinafter the “Jenner Photographs”).
13         8.      Backgrid filed for copyright registration of its Jenner Photographs within
14   90 days of their first publication with the United States Copyright Office.
15                      Defendants and Their Willful Infringing Activity
16         9.      Illesteva is a high-end sunglasses company that features handmade
17   Italian designs. It collaborates with fashion and musical icons, such as Lou Reed, the
18   front man of the Velvet Underground, and supermodel Jourdan Dunn. To promote its
19   brand, it showcases celebrities who wear its products. At issue in this lawsuit are two
20   timely registered photos of Kylie Jenner, who is best known for her involvement in
21   “Keeping Up with the Kardashians” and her makeup brand. The photographs at issue
22   in this lawsuit are owned by Backgrid and are timely registered with the Copyright
23   Office. See Copyright registration, VA0002128720.
24         10.     Illesteva has reproduced, distributed, displayed, and created
25   unauthorized derivative works of the timely registered Jenner Photographs on its
26   website, www.illesteva.com (the “Website”) and on its Instagram Account and
27   Twitter Account without consent or license, as shown in Exhibit A.
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                                            COMPLAINT
Case 2:21-cv-07661-CAS-KES Document 1 Filed 09/24/21 Page 4 of 7 Page ID #:4



 1         11.    Illesteva has violated federal law by willfully infringing at least 2 timely
 2   registered photographs on, at least, the Website and its Instagram Account and
 3   Twitter Account, which are owned by Backgrid.
 4         12.    Illesteva has induced, caused, or materially contributed to the
 5   reproduction, distribution and public display of the Jenner Photographs, and
 6   derivatives thereof, all the while knowing that the infringing images were being used
 7   without permission, consent, or license.
 8         13.    On information and belief, at all times relevant to this dispute, Illesteva
 9   has owned, operated, and controlled its Website and operated and controlled its
10   Instagram Account and Twitter Account and has financially benefited by displaying
11   and reproducing the Jenner Photographs thereto. On information and belief, Illesteva
12   has driven significant traffic to its Website and Instagram Account and Twitter
13   Account and increased the goodwill to its brand through the unauthorized use of the
14   Jenner Photographs, and thereby increased its revenues through the presence of the
15   sought-after and searched-for Jenner Photographs that frame this dispute. Such
16   traffic translated into a substantial ill-gotten commercial advantage and increased
17   brand awareness as a direct consequence of the infringements.
18         14.    Backgrid attempted to resolve this dispute with Defendant prior to filing
19   this lawsuit. The Parties were unable to do so.
20                              FIRST CLAIM FOR RELIEF
21             (Backgrid’s Claim for Copyright Infringement, 17 U.S.C. § 501)
22         15.    Backgrid incorporates here by reference the allegations in paragraphs 1
23   through 14 above.
24         16.    Backgrid is the owner of all rights, title, and interest in the copyrights of
25   the Jenner Photographs that frame this dispute, which substantially consist of material
26   that is wholly original copyrightable subject matter under the laws of the United
27   States.
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                                            COMPLAINT
Case 2:21-cv-07661-CAS-KES Document 1 Filed 09/24/21 Page 5 of 7 Page ID #:5



 1         17.    Backgrid filed for copyright registration of the Jenner Photographs with
 2   the United States Copyright Office within 90 days of their first publication.
 3         18.    Defendants have directly, vicariously, contributorily and/or by
 4   inducement willfully infringed Backgrid’s copyrights by reproducing, displaying,
 5   distributing, and utilizing the Jenner Photographs for purposes of trade in violation of
 6   17 U.S.C. §§ 501 et seq.
 7         19.    All of the Defendants’ acts are and were performed without permission,
 8   license, or consent of Backgrid.
 9         20.    Backgrid has identified at least 2 instances of infringement by way of
10   unlawful reproduction and display of the Illesteva Photographs.
11         21.    As a result of the acts of Defendants alleged herein, Backgrid has
12   suffered substantial economic damage.
13         22.    Illesteva has willfully infringed, and unless enjoined will continue to
14   infringe Backgrid’s copyrights by knowingly reproducing, displaying, distributing,
15   and utilizing Backgrid’s photographs by, among other things, virtue of Illesteva’s
16   encouragement of the infringement and financial benefit it receives from
17   infringement of Backgrid’s copyrights.
18         23.    Defendant’s wrongful acts have caused, and are causing, injury to
19   Backgrid, which injury cannot be accurately computed, unless this Court restrains
20   Defendants from further commission of said acts, Backgrid will suffer irreparable
21   injury for which it is without an adequate remedy at law. Accordingly, Backgrid
22   seeks a declaration that Defendants are infringing Backgrid’s copyrights and an order
23   under 17 U.S.C. § 502 enjoining Defendant from any further infringement.
24         24.    The above-documented infringements alone would entitle Backgrid to a
25   potential award of up to $ 300,000 in statutory damages for the at-least 2 infringed
26   photographs, in addition to its attorney’s fees.
27                                  PRAYER FOR RELIEF
28         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
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                                            COMPLAINT
Case 2:21-cv-07661-CAS-KES Document 1 Filed 09/24/21 Page 6 of 7 Page ID #:6



 1           1.     That Defendants, and their officers, agents, servants, employees, and
 2   representatives, and all persons in active concert or participation with them, be
 3   permanently enjoined from copying, reproducing, displaying, promoting, advertising,
 4   distributing, or selling, or engaging in any other form of dealing or transaction in, any
 5   and all the Jenner Photographs, including on Instagram and Twitter;
 6           2.     That pursuant to 17 U.S.C. § 504 (a)(1) & (b) an accounting be made of
 7   all profits, income, receipts or other benefit derived by Defendants from the unlawful
 8   reproduction, copying, display, promotion, distribution, or sale of products and
 9   services, or other media, either now known or hereafter devised, that improperly or
10   unlawfully infringes upon Plaintiff’s copyrights;
11           3.     Pursuant to under 17 U.S.C. § 504 (a)(1) & (b) for actual damages and
12   disgorgement of all profits derived by Defendants from their acts of copyright
13   infringement, and for all damages suffered by Plaintiff by reasons of Defendant’s
14   acts;
15           5.     For statutory damages for copyright infringement, including willful
16   infringement, in accordance with 17 U.S.C. § 504(a)(2) & (c);
17           6.     For reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C. §
18   505;
19           7.     For costs and interest pursuant to 17 U.S.C. § 504 (a)(1) & (b), 17
20   U.S.C. § 505, and
21           8.     For any such other and further relief as the Court may deem just and
22   appropriate.
23   Dated: September 24, 2021                ONE LLP
24
                                              By: /s/ Joanna Ardalan
25                                                Joanna Ardalan
26                                                Peter R. Afrasiabi

27                                                Attorneys for Plaintiff,
28                                                Backgrid USA, Inc.
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                                            COMPLAINT
Case 2:21-cv-07661-CAS-KES Document 1 Filed 09/24/21 Page 7 of 7 Page ID #:7


 1                             DEMAND FOR JURY TRIAL
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           Plaintiff Backgrid USA, Inc., hereby demand trial by jury of all issues so
 3
     triable under the law.
 4
 5   Dated: September 24, 2021             ONE LLP
 6
                                           By: /s/ Joanna Ardalan
 7                                             Joanna Ardalan
 8                                             Peter R. Afrasiabi
 9                                              Attorneys for Plaintiff,
10                                              Backgrid USA, Inc.
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